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 6   and Darryl W. Daniels
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 7
 8                            UNITED STATES BANKRUPTCY COURT

 9                              CENTRAL DISTRICT OF CALIFORNIA

10                                    RIVERSIDE DIVISION
11
12
      In re                                           Case No.: 6:19-bk-16968-WJ
13
      LEON RICHARD MAYS and DARRYL W.                 Adv. Pro. No.: 6:19-ap-01150-WJ
14    DANIELS,
                                                      Chapter 7
15                 Debtors.
16
17                                                                SCHEDULING ORDER
      RICHARD MENG and VIVIAN MENG,
18
                   Plaintiffs,
19
20                         v.

21    LEON RICHARD MAYS and
      DARRYL W. DANIELS,
22
                   Defendants.
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     Case 6:19-ap-01150-WJ           Doc 8 Filed 12/05/19 Entered 12/05/19 09:20:57             Desc
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 1
               The Court has considered the “Stipulation To Extend Deadline To File Answer To
 2
     Complaint To Determine Non Dischargeability Of Debt Pursuant To 11 U.S.C. § 523(A)(2), §
 3
     523(A)(4), And § 523(A)(6)” between the parties. Good cause appearing, the Court hereby
 4
     orders:
 5
               1.     The deadline for the defendants to respond to the complaint is extended from
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     December 2, 2019 to December 23, 2019.
 7
     IT IS SO ORDERED.
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26        Date: December 5, 2019
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